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                                  United States District Court
                                   Western District of Texas
                                       Del Rio Division
 The State of Texas,
   Plaintiff,
        v.
 U.S. Department of Homeland
 Security; Alejandro Mayorkas, in
 his official capacity as Secretary
 of the U.S. Department of
 Homeland Security; U.S. Customs
 & Border Protection; U.S. Border
 Patrol; Troy A. Miller, in his                              No. 2:23-CV-00055-AM
 official capacity as Acting
 Commissioner for U.S. Customs
 & Border Protection; Jason
 Owens, in his official capacity as
 Chief of the U.S. Border Patrol;
 and Juan Bernal, in his official
 capacity as Acting Chief Patrol
 Agent, Del Rio Sector U.S. Border
 Patrol,
   Defendants.

                          Plaintiff’s Notice of Appeal

     Plaintiff the State of Texas appeals this Court’s Order entered on November 29, 2023, to the

United States Court of Appeals for the Fifth Circuit. See Memorandum Opinion and Order, ECF

No. 57. That Order denied the State of Texas’s motion for a preliminary injunction. See id.; see also

Pl.’s Mot. for Prelim. Inj. or Stay of Agency Action, ECF No. 3. The order denying a preliminary

injunction is immediately appealable. See 28 U.S.C. § 1292(a)(1).




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Date: November 30, 2023                              Respectfully submitted,
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                                   Certificate of Service
     On November 30, 2023, this document was filed electronically through the Court’s CM/ECF
system, which automatically serves all counsel of record.

                                             /s/ Ryan D. Walters
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